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 UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE: BIT DIGITAL, INC.                                              3/7/2023
SECURITIES LITIGATION
                                                 Lead Case No. 1:21-cv-00515-ALC
           This document relates to:

           All Actions




                                 FINAL JUDGMENT



                                                   BLOCK & LEVITON LLP
                                                   Jeffrey C. Block
                                                   Jacob A. Walker, pro hac vice
                                                   Sarah E. Delaney
                                                   260 Franklin Street, Suite 1860
                                                   Boston, MA 02110
                                                   (617) 398-5600
                                                   jeff@blockleviton.com
                                                   jake@blockleviton.com
                                                   sarah@blockleviton.com

                                                   Attorneys for Lead Plaintiff and the
                                                   Class
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        This matter came before the Court pursuant to the Order Preliminarily Approving

Settlement and Authorizing Dissemination of Notice to the Class (“Preliminary Approval Order”)

dated November 22, 2022. (ECF No. 69) (“Preliminary Approval Order”), on the application of

the parties for approval of the Settlement set forth in the Stipulation of Class Action Settlement

dated October 12, 2022 (ECF No. 68-1) (“Stipulation”). Due and adequate notice having been

given to the Class as required in said Preliminary Approval Order, and the Court having considered

all papers filed and proceedings had herein and otherwise being fully informed in the premises and

good cause appearing therefore, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

that:

        1.      This Judgment incorporates by reference the definitions in the Stipulation, and all

capitalized terms used, but not defined herein, shall have the same meanings as set forth in the

Stipulation, unless otherwise set forth herein.

        2.      This Court has jurisdiction over the subject matter of the Litigation and over all

parties to the Litigation, including Class Members.

        3.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court hereby

affirms its determination in the Preliminary Approval Order and finally certifies, for purposes of

the Settlement only, a Class defined as: all Persons who purchased Bit Digital common stock

between December 21, 2020 and January 11, 2021, inclusive (the “Class Period”). Excluded from

the Class are Defendants and their families; the officers, directors, and affiliates, and their legal

representatives, heirs, successors or assigns; and any entity in which Defendants have or had a

controlling interest.




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        4.      Also excluded from the Class is any Person who would otherwise be a Class

Member but who validly and timely requested exclusion in accordance with the requirements set

by the Court, of which there are none.

        5.      The Court finds that (a) the Members of the Class are so numerous that joinder of

all Class Members in the Class are impracticable; (b) there are questions of law and fact common

to the Class which predominate over any individual question; (c) the claims of Lead Plaintiff are

typical of the claims of the Class; (d) Lead Plaintiff and his counsel have fairly and adequately

represented and protected the Class; and (e) a class action is superior to other available methods

for the fair and efficient adjudication of the controversy, considering (i) the interests of the Class

Members individually controlling the prosecution with separate actions; (ii) the extent and nature

of any litigation concerning the controversy already commenced by Class Members; (iii) the

desirability or undesirability of concentrating the litigation of these claims in this particular forum;

and (iv) the difficulties likely to be encountered in the management of the class action.

        6.      Pursuant to Federal Rule of Civil Procedure 23, the Court hereby approves the

Settlement set forth in the Stipulation and finds that:

        a. said Stipulation and the Settlement contained therein, are, in all respects, fair,

             reasonable, and adequate and in the best interest of the Class;

        b. there was no collusion in connection with the Stipulation;

        c. the Stipulation was the product of informed, arm’s-length negotiations among

             competent, able counsel; and

        d. the record is sufficiently developed and complete to have enabled Lead Plaintiff and

             Defendants to have adequately evaluated and considered their positions.




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          7.    Accordingly, the Court authorizes and directs implementation and performance of

all the terms and provisions of the Stipulation, as well as the terms and provisions hereof. The

Court hereby dismisses the Litigation and all claims asserted therein with prejudice. The Settling

Parties are to bear their own costs, except as and to the extent provided in the Stipulation and

herein.

          8.    Upon the Effective Date, and as provided in the Stipulation, Lead Plaintiff shall,

and each of the Class Members shall be deemed to have, and by operation of this Judgment shall

have, fully, finally, and forever released, relinquished, and discharged all Released Claims

(including Unknown Claims) against the Released Defendant Parties, whether or not such Class

Member executes and delivers the Proof of Claim and Release form or shares in the Net Settlement

Fund. Claims to enforce the terms of the Stipulation or any order of the Court in the Litigation are

not released.

          9.    Upon the Effective Date, and as provided in the Stipulation, all Class Members and

anyone claiming through or on behalf of any of them, will be forever barred and enjoined from

commencing, instituting, prosecuting, or continuing to prosecute any action or other proceeding in

any court of law or equity, arbitration tribunal, or administrative forum, asserting any of the

Released Claims against any of the Released Defendant Parties.

          10.   Upon the Effective Date, and as provided in the Stipulation, each of the Released

Defendant Parties shall be deemed to have, and by operation of this Judgment shall have, fully,

finally, and forever released, relinquished, and discharged all Released Defendants’ Claims

(including Unknown Claims) against the Lead Plaintiff, each and all of the Class Members, and

Lead Counsel. Claims to enforce the terms of the Stipulation or any order of the Court in the

Litigation are not released.




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       11.     The Notice of Pendency of Class Action and Proposed Settlement given to the Class

was the best notice practicable under the circumstances, including the individual notice to all Class

Members who could be identified through reasonable effort. Said notice provided the best notice

practicable under the circumstances of those proceedings and of the matters set forth therein,

including the proposed Settlement set forth in the Stipulation, to all Persons entitled to such notice,

and said notice fully satisfied the requirements of Federal Rule of Civil Procedure 23 and the

requirements of due process. No Class Member is relieved from the terms of the Settlement,

including the releases provided for therein, based upon the contention or proof that such Class

Member failed to receive actual or adequate notice. A full opportunity has been offered to the

Class Members to object to the proposed Settlement and to participate in the hearing thereon. The

Court further finds that the notice provisions of the Class Action Fairness Act, 28 U.S.C. §1715,

were fully discharged and that the statutory waiting period has elapsed. Thus, the Court hereby

determines that all Class Members are bound by this Judgment.

       12.     Any Plan of Allocation submitted by Lead Counsel or any order entered regarding

any attorneys’ fee and expense application shall in no way disturb or affect this Judgment and shall

be considered separate from this Judgment.

       13.     Neither the Stipulation nor the Settlement contained therein, nor any act performed

or document executed pursuant to or in furtherance of the Stipulation or the Settlement: (a) is, or

may be deemed to be, or may be used as an admission of, or evidence of, the validity of any

Released Claim, or of any wrongdoing or liability of the Defendants or their respective Related

Persons, or (b) is, or may be deemed to be, or may be used as an admission of, or evidence of, any

fault or omission of any of the Defendants or their respective Related Persons in any civil, criminal,

or administrative proceeding in any court, administrative agency, or other tribunal.              The




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Defendants and/or their respective Related Persons may file the Stipulation and/or this Judgment

from this Litigation in any other action that may be brought against them in order to support a

defense or counterclaim based on principles of res judicata, collateral estoppel, release, good faith

settlement, judgment bar or reduction, or any theory of claim preclusion or issue preclusion or

similar defense or counterclaim.

       14.      Without affecting the finality of this Judgment in any way, this Court hereby retains

continuing jurisdiction over: (a) implementation of this Settlement and any award or distribution

of the Settlement Fund, including interest earned thereon; (b) disposition of the Settlement Fund;

(c) hearing and determining applications for attorneys’ fees, expenses, and interest in the

Litigation; and (d) all parties herein for the purpose of construing, enforcing, and administering

the Stipulation.

       15.      The Court finds that during the course of the Litigation, the Settling Parties and

their respective counsel at all times complied with the requirements of Federal Rule of Civil

Procedure 11.

       16.      In the event that the Settlement does not become effective in accordance with the

terms of the Stipulation, or the Effective Date does not occur, or in the event that the Settlement

Fund, or any portion thereof, is returned to the Defendants or their insurers, then this Judgment

shall be rendered null and void to the extent provided by and in accordance with the Stipulation

and shall be vacated and, in such event, all orders entered and releases delivered in connection

herewith shall be null and void to the extent provided by and in accordance with the Stipulation,

and the Settling Parties shall restored to their respective positions in the Litigation as of August

12, 2022, as provided in the Stipulation.




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       17.     Without further order of the Court, the Settling Parties may agree to reasonable

extensions of time to carry out any of the provisions of the Stipulation.

       18.     The Court directs immediate entry of this Judgment by the Clerk of Court.

SO ORDERED.

DATED: March 7, 2023


                                                  Honorable Andrew L. Carter, Jr.
                                                  United States District Judge




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